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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
WP COMPANY LLC,                           )
d/b/a WASHINGTON POST                     )
                                          )
       Plaintiff,                         )
                                          )
              v.                          )                Case No. 21-cv-02458 (APM)
                                          )
U.S. DEPARTMENT OF THE AIR FORCE          )
ET AL.,                                   )
                                          )
              Defendants.                 )
_________________________________________ )

                                            ORDER

       Plaintiff filed this Freedom of Information Act (“FOIA”) action on September 20, 2021.

See Compl. for Declaratory & Injunctive Relief, ECF No. 1. Defendants filed an answer on

October 25, 2021. See Defs.’ Answer, ECF No. 9. Cases filed under FOIA are exempt from the

requirements of Federal Rule of Civil Procedure 26(f) and Local Civil Rule 16.3. See LCvR

16.3(b)(10).

       Accordingly, it is hereby ordered that the parties shall meet and confer and file a Joint

Status Report on or before November 8, 2021. The Joint Status Report should address, among

other things, (1) the status of Plaintiff’s FOIA request; (2) the anticipated number of documents

responsive to Plaintiff’s FOIA request; (3) the anticipated date(s) for release of the documents

requested by Plaintiff; (4) whether a motion for a stay is likely under Open America v. Watergate

Special Prosecution Force, 547 F.2d 605 (D.C. Cir. 1976); and (5) whether the parties anticipate

summary judgment briefing and, if so, a proposed briefing schedule.
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       Counsel shall not contact chambers directly concerning scheduling or other matters, as

chambers personnel will not handle questions relating to the status or scheduling of pending

matters, except in case of an emergency. In an emergency, chambers can be reached at 202-

354-3250.




Dated: October 26, 2021                                          Amit P. Mehta
                                                  United States District Court Judge




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